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                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                          ORLANDO DIVISION


  UNITED STATES OF AMERICA

  v.                                      CASE NO. 6:18-cr-70-Orl-41TBS

  MARC MALACASO

                UNOPPOSED MOTION TO CONTINUE AND
                   ADMINSTRATIVELY CLOSE CASE

        The United States of America moves this Court for an 18-month

  continuance and administrative closure. The defendant, Marc Malacaso, has

  been accepted into the Pretrial Diversion Program. The requested 18-month

  continuance and administrative closure would allow the defendant the

  opportunity to satisfactorily complete the program. Once the defendant

  successfully completes the program, the United States will file a motion

  requesting that the case be dismissed. The United States respectfully suggests

  that this period of delay is justified and should be excluded from calculation

  for speedy trial purposes pursuant to 18 U.S.C. § 3161(h)(2).

        Vincent A. Citro, Esq., counsel for the defendant, does not oppose the

  requested stay and administrative closure.
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        Based on the foregoing, the United States respectfully requests that this

  motion be granted.

                                         Respectfully submitted,

                                         MARIA CHAPA LOPEZ
                                         United States Attorney


                                    By: /s/Vincent S. Chiu
                                        Vincent S. Chiu
                                        Assistant United States Attorney
                                        Florida Bar No. 0084936
                                        400 W. Washington Street, Suite 3100
                                        Orlando, Florida 32801
                                        Telephone: (407) 648-7500
                                        Facsimile: (407) 648-7643
                                        E-mail:       vincent.chiu@usdoj.gov




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                          CERTIFICATE OF SERVICE

         I hereby certify that on August 15, 2018, I electronically filed the

  foregoing with the Clerk of the Court by using the CM/ECF system which

  will send a notice of electronic filing to the following:

         Vincent A. Citro, Esq.

                                            /s/Vincent S. Chiu
                                            Vincent S. Chiu
                                            Assistant United States Attorney
                                            Florida Bar No. 0084936
                                            400 W. Washington Street, Suite 3100
                                            Orlando, Florida 32801
                                            Telephone: (407) 648-7500
                                            Facsimile: (407) 648-7643
                                            E-mail:       vincent.chiu@usdoj.gov




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